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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5057                                                September Term, 2024
                                                                        1:25-cv-00334-BAH
                                                        Filed On: March 10, 2025
Gwynne A. Wilcox,

             Appellee

      v.

Donald J. Trump, in his official capacity as
President of the United States and Marvin E.
Kaplan, in his official capacity as Chairman of
the National Labor Relations Board,

             Appellants


      BEFORE:       Henderson, Millett, and Walker, Circuit Judges

                                        ORDER

       Upon consideration of the emergency motion for stay pending appeal, which
includes a request for an administrative stay, it is

      ORDERED that appellee file a response to the motion by 5:00 p.m. on Tuesday,
March 11, 2025. Any reply is due by 12:00 noon on Thursday, March 13, 2025.

                                       Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk
